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See MCI v. FCC. 515 F 2d 385 (D.C. Circ 1974).



For Immediate Release                                                                                News Media Contact:
February 9, 2006                                                                                     David Fiske (202) 418-0513

                       FCC Media Bureau Report Finds Substantial Consumer Benefits
                          in A La Carte Model of Delivering Video Programming

        Washington, DC – The Media Bureau of the Federal Communications Commission
(FCC) today issued a Further Report on the Packaging and Sale of Video Programming Services
to the Public (the “Further Report”) on the issue of an “a la carte” model for delivery of video
services. The Further Report finds consumers could be better off under a la carte and explores
several a la carte options that could provide substantial benefits to subscribers by increasing their
choices in purchasing programming.

         The Further Report reexamines the conclusions and underlying assumptions of the earlier
Media Bureau report on a la carte submitted to Congress in November 2004 (“2004 Report”). In
particular, the Further Report describes a number of errors in the Booz Allen Hamilton (“Booz
Allen”) Study that the Media Bureau relied upon to support the conclusion of the earlier report
that a la carte is not economical. The Further Report finds that the 2004 report also relied upon
unrealistic assumptions and presented biased analysis in concluding that a la carte “would not
produce the desired result of lower MVPD rates for most pay-television households.”

        The Further Report identifies mistaken calculations in the Booz Allen Study, which was
originally submitted by the cable industry for Commission consideration. Booz Allen itself
acknowledges the errors, which other economists also have confirmed. The Further Report
explains that the Booz Allen Study failed to net out the cost of broadcast stations when
calculating the average cost per cable channel under a la carte. As a result, the Booz Allen Study
overstated the average price per cable channel by more than 50 percent.

        The Booz Allen Study significantly underestimated the number of programming channels
that a subscriber could enjoy under a la carte while still achieving savings compared to the
subscriber’s current multichannel video programming distributor (“MVPD”) fees. Indeed,
correcting for this mathematical error, consumers’ bills decreased by anywhere from 3 to 13
percent in three out of the four scenarios considered in the Booz Allen Study.

       In addition, the Further Report notes that, through the use of questionable assumptions,
the Booz Allen Study may have further overestimated the costs of a la carte. The Booz Allen
Study (accepted in the Media Bureau’s 2004 report) assumed that a shift to a la carte would
cause consumers to watch nearly 25 percent less television, or over two fewer hours of television
per day. The Further Report finds that there is no reason to believe that viewers would watch
less video programming than they do today simply because they could choose the channels they
find most interesting.

       Finally, the 2004 report fails to mention that the Booz Allen Study shows that, even with
the math error noted above, if a la carte were only implemented on digital cable systems with
appropriate set top boxes in place, then a la carte could result in a 1.97 percent decrease in
consumers’ bills.

       The report can be found online at www.fcc.gov/mb.

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                                              FACT SHEET

•   The Media Bureau’s 2004 report relied upon a study conducted by Booz Allen Hamilton
    (“Booz Allen”) in concluding that a la carte is not economical. That study contains
    mathematical errors. Booz Allen has acknowledged these errors, which other economists
    also have confirmed.

•   The Booz Allen Study failed to net out the cost of broadcast stations when calculating the
    average cost per cable channel under a la carte. As a result, the Booz Allen Study overstated
    the average price per cable channel by more than 50 percent, and erroneously concluded that,
    under a la carte, consumers that receive at least nine cable networks would likely face an
    increase in their monthly bills.

•   The corrected calculations show that a subscriber could receive as many as 20 channels,
    including six broadcast signals, without seeing an increase in his or her monthly bill. This is
    more than the 17 channels that the average television household watches. The corrected
    calculations also show that, in three of the four scenarios considered in the Booz Allen Study,
    consumers’ bills decrease by anywhere from 3 to 13 percent.

•   The Booz Allen Study assumes, without any support, that a shift to a la carte pricing would
    cause consumers to watch nearly 25 percent less television, or over two fewer hours of
    television per day. There is no reason to believe that viewers would watch less video
    programming than they do today if provided an a la carte option.

•   The 2004 report fails to mention that the Booz Allen Study shows that, even with the math
    error noted above, if a la carte were only implemented on digital cable systems with
    appropriate set top boxes in place, then a la carte could result in a 1.97 percent decrease in
    consumers’ bills.

•   Similarly, the examples presented in the Economic Appendix of the 2004 report focus on
    cases in which a la carte would be harmful to consumers and do not discuss equally plausible
    examples in which a la carte would be beneficial to consumers.

•   The Booz Allen Study does not consistently recognize differences among networks and
    network segments. Booz Allen assumed that under a la carte, consumers would be three
    times as likely to purchase programming in segments such as “general entertainment and
    sports” than in segments such as “emerging niche” and “emerging mass.” However, when
    Booz Allen determined how many channels a consumer could purchase, it assumed that all
    channels cost the same amount.

•   The current industry practice of bundling programming services may drive up retail prices,
    making video programming less affordable and keeping some consumers from subscribing to
    multichannel video programming distributor services.
•   For many popular networks, advertising and subscription fees might rise as viewers shift to
    those programming options, even as consumers who opt to watch only those channels enjoy
    significant savings on their MVPD bills.

•   Some type of a la carte option could prove better than today’s bundling practices in fostering
    diverse programming responsive to consumer demand.

•   A la carte could make it easier for programming networks valued by a minority of viewers to
    enter the marketplace.

•   If consumers were able to express their interests through subscriptions, advertisers and
    MVPDs might find it easier to judge the value of smaller networks.
